Case 2:20-cv-11181-CAS-JPR Document 59 Filed 09/17/21 Page 1 of 3 Page ID #:1094




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  10   INTERFOCUS, INC. d.b.a.
       www.patpat.com
  11
  12                      UNITED STATES DISTRICT COURT
  13                    CENTRAL DISTRICT OF CALIFORNIA
  14
  15 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPR
     INC., a California Corporation,
  16                                          JOINT STIPULATION TO AMEND
                  Plaintiff,                  SCHEDULING ORDER
  17
           v.
  18
     INTERFOCUS, INC. d.b.a.
  19 www.patpat.com, a Delaware
     Corporation; and DOES 1-10, inclusive,
  20
                  Defendants.
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                        JOINT STIPULATION TO AMEND SCHEDULING ORDER
Case 2:20-cv-11181-CAS-JPR Document 59 Filed 09/17/21 Page 2 of 3 Page ID #:1095




   1        IT IS HEREBY STIPULATED by the parties, to provide experts a short
   2 period of time after fact discovery cutoff to prepare expert reports, subject to the
   3 approval of the Court, that the Scheduling Order in this matter [Dkt. 26], be
   4 amended as follows:
   5
                 Deadline                 Current Dates           Stipulated Proposed
   6                                                                     Dates
   7   Fact Discovery Cutoff          11/30/2021                 11/30/2021
       Exchange of Initial expert     9/30/2021                  12/17/2021
   8   report
   9   Exchange of Rebuttal expert    11/1/2021                  1/07/2022
       report
  10
       Expert Discovery cutoff        11/30/2021                 1/24/2022
  11   Filing of Summary              12/30/2021                 1/31/2022
       Judgement motion based on
  12
       expert report
  13   Last day to file motions       1/10/2022                  1/28/2022
  14   Conference of Counsel prior    2/7/2022                   2/28/2022
       to filing Motion in Limine
  15   Pretrial conference/Hearing    3/14/2022                  4/5/2022
  16   on Motions in Limine
       First Day of trial             3/29/2022                  4/19/2022
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  18
       Dated: September 17, 2021                RIMON, P.C.
  19
  20                                       By: /s/ Mark S. Lee
  21                                           Mark S. Lee
                                               Zheng Liu
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  23                                            Attorneys for Defendants
                                                INTERFOCUS, INC. d.b.a.
  24                                            www.patpat.com
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                            JOINT STIPULATION TO AMEND SCHEDULING ORDER
Case 2:20-cv-11181-CAS-JPR Document 59 Filed 09/17/21 Page 3 of 3 Page ID #:1096




   1 Dated: September 17, 2021              JEONG & LIKENS, L.C.
   2
                                       By: /s/ Chan Yong Jeong
   3                                       Chan Yong Jeong
   4
                                            Attorneys for Plaintiff
   5                                        NEMAN BROTHERS & ASSOC., INC.
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   8
            IT IS SO ORDERED this ___ day of September, 2021.
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  11                                     Christine A. Snyder
  12                                     United States District Judge

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                        JOINT STIPULATION TO AMEND SCHEDULING ORDER
